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                                                                                   FILED
                                                                                IN CLERK'S OFFICE
                                                                            US DISTRICT COURT E.D.N.Y.
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------------)(
                                                                            *    MAY 2 2 2012        *
 UNITED STATES OF AMERlCA,                                                  BROOKLYN OFFICE

                                   Plaintiff,                              MEMORANDUM & ORDER
                                                                               CONFIRMING
                   -and-                                                  APPOINTMENT OF SPECIAL
                                                                                 MASTERS
 THE VULCAN SOCIETY, INC.,for itselfand on
 behalfofits T/'!embers, JAMEL NICHOLSON, and                              07-CV-2067 (NGG) (RLM)
 RUSEBELL WILSON, individually and on behalf
 ofa subclass of all other victims similarly situated
 seeking classwide injunctive relief,

 ROGER GREGG, MARCUS HAYWOOD, and
 KEVIN WALKER, individually and on behalf of a
 subclass ofall other non-hire victims similarly
 situated; and

  CANDIDO NuNEZ and KEVIN SIMPKINS,
  individually and on behalfof a subclass of all other
  delayed-hire victims similarly situated,

                                   Plaintiff-Intervenors,
                  -against-

  THE CITY OF NEW YORK,

                                    Defendant,

                  -and-

THE UNIFORMED FIREFIGHTERS ASSOCIA nON
OF GREATER NEW YORK,

                                    A Non-Aligned Party.
---------------------------------------------------------------------)(
NICHOLAS G. GARAUFIS, United States District Judge.

         In accordance with Federal Rule of Civil Procedure 53(b)(1), the court previously

notified the parties of its intention to appoint special masters for issues relating to individual

relief and gave them an opportunity to suggest candidates and comment on proposed terms of


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appointment. (Feb. 21, 2012 Order (Docket Entry # 815) at 2.) After considering the nominees

of the parties, the court named four Special Masters: Steven M. Cohen, Hector Gonzalez, Mitra

Hormozi, and Breon S. Peace. (Mar. 8, 2012 Mem. & Order (Docket Entry # 825) at 59-60.)

The court directed each appointee to file an affidavit, pursuant to Federal Rule of Civil Procedure

53(b)(3), "disclosing whether there is any ground for disqualification under 28 U.S.C. § 455,"

and directed the Special Masters to file a joint recommendation to the court on how to structure a

process for considering the claims of individuals. Each Special Master has filed the required

affidavit. (See Gonzalez Aff. (Docket Entry # 826); Peace Aff. (Docket Entry # 829); Hormozi

Aff. (Docket Entry # 833); Cohen Aff. (Docket Entry # 847).) The Special Masters have also

filed a joint recommendation. (Report & Recommendation (Docket Entry # 849).) No ground

for disqualification having been found,

       IT IS HEREBY ORDERED:

       I.      Pursuant to Federal Rule of Civil Procedure 53(a)(l)(B) and the court's inherent
               equitable powers, Steven M. Cohen, Hector Gonzalez, Mitra Hormozi, and Breon
               S. Peace are confirmed as Special Masters in this litigation;



       2.      The duties of the Special Masters shall include the following:


               a.     Conducting hearings and issuing findings of fact and conclusions oflaw
                      on: the eligibility for equitable monetary and hiring relief of individual
                      claimants; the amount of equitable monetary relief owed to each
                      individual claimant after each claimant's mitigation efforts and interim
                      earnings have been considered; and the amount of compensatory non-
                      economic damages to be awarded to eligible class members;




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              b.        Supervising discovery of materials necessary to adjudicate the issues listed
                        in 2.a., to the extent the court assigns said duties to the Special Masters in
                        a subsequent order;


              c.        Recommending to the court a revised framework for the efficient and just
                        processing of claims for relief of injured individuals and the
                        accomplishment of the duties listed in 2.a. and 2. b., after conferring with
                        all parties.


              d.        Additional duties relating to the resolution of claims for relief from
                        eligible claimants as may be assigned to the Special Masters by the court
                        in subsequent orders.


       3.     The Special Masters shall have all authority provided under Federal Rule of Civil
              Procedure 53(c).


Reporting and Judicial Review
       4.     The Special Masters shall report to the court on the results of their consultation
              with the parties and shall file revised recommendations based on that consultation,
              within 30 days of the date of this Order.


       5.     The Special Masters shall report to the court and to the parties concerning the
              status of the processing of individual claims every 90 days once that process
              begins.


       6.     The orders, reports, and recommendations of the Special Masters may be
              introduced as evidence in accordance with the Federal Rules of Evidence.


       7.     The parties may file objections to - or a motion to adopt or modify - the Special
              Masters' orders, reports, or recommendations no later than 10 calendar days after



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              a copy is served. The court will review these objections under the standards set
              forth in Federal Rule of Civil Procedure 53(f).


Record Keeping
       8.     The Special Masters shall file all written orders, reports, and recommendations on
              the electronic docket, along with any evidence that the Special Masters believe
              will assist the court in reviewing the order, report, or recommendation. The
              Special Masters shall preserve any documents they receive from the parties.


Access to Information
       9.     The Special Masters shall have the access to individuals, information, documents,
              materials, programs, services, facilities, and premises relevant to the orders of the
              court that they require to perform their duties, subject to the terms of this Order
              Appointing a Special Master.


       10.    The Special Masters may not communicate with a party or a party's counselor
              staff on an ex parte basis. The Special Masters may communicate with the court
              on an ex parte basis concerning non-substantive matters such as scheduling or the
              status of their work.


Compensation and Expenses
       11.    The City will fund the Special Masters' work, as determined by the court in the
              court's previous Memorandum and Order. (See Mar. 8,2012 Mem. & Order at
              60-61.) As stated in that Memorandum and Order, the fee structure for the
              Special Masters is the same as that established for the Court Monitor in the
              Court's December 9, 2011 Order. The Special Masters shall incur only such fees
              and expenses as may be reasonably necessary to fulfill their duties under this
              Appointment Order, or such other orders as the court may issue.


       14.    Every 60 days, the Special Masters shall submit to the court itemized statements
              of fees and expenses, which the court will inspect for regularity and

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              reasonableness. If the court determines that the itemized statements are regular
              and reasonable, the court will approve them. The City shall then remit to each
              Special Master any court-approved amounts, within 20 calendar days of court
              approval.


Other Provisions
       15.    As agents and officers of the court, the Special Masters and those working at their
              direction shall enjoy the same protections from being compelled to give testimony
              and from liability for damages as those enjoyed by other federal judicial adjuncts
              performing similar functions.


       16.    As required by Rule 53(b)(2) of the Federal Rules of Civil Procedure, the court
              directs the Special Masters to proceed with all reasonable diligence.


       17.    The Special Masters, or anyone Special Master, shall be discharged or replaced
              only upon an order of this court.


       18.    The parties, their successors in office, agents, and employees, will observe
              faithfully the requirements of this Appointment Order and cooperate fully with
              the Special Masters, and any staff or expert consultant employed by the Special
              Masters, in the performance of their duties.

SO ORDERED.                                                  s/Nicholas G. Garaufis
Dated: Brooklyn, New York                                    NICHOLAS G~GARAUF1S'
       May 22, 2012                                          United States District Judge




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